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 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10                         (HONORABLE CYNTHIA A. BASHANT)
11
     UNITED STATES OF AMERICA,                 )        Case No. 20CR1912-BAS
12                                             )
              Plaintiff,                       )
13                                             )        DEFENDANT’S SENTENCING
     v.                                        )        MEMORANDUM
14                                             )
     BRUCE BAKER,                              )
15                                             )        Date: June 7, 2021
              Defendant.                       )        Time: 9:00 a.m.
16                                             )
17 TO:        RANDY S. GROSSMAN, ACTING UNITED STATES ATTORNEY;
              MICHELLE L. WASSERMAN, ASSISTANT UNITED STATES
18            ATTORNEY; AND ALEXANDRA PLATAS, UNITED STATES
              PROBATION OFFICER
19
20            Defendant, Bruce Baker, by and through counsel, Thomas J. Warwick, Jr.,
21 hereby submits the following memorandum in aid of sentencing.
22                                                 I.
23                                     INTRODUCTION
24            Sentencing judges “exercise a wide discretion” in the types of evidence that
25 they may consider when determining a sentence. Williams v. New York, 337 U.S.
26 241, 246-47 (1949).
27            Congress codified this principle at 18 U.S.C. § 3661, which provides
              that “[n]o limitation shall be placed on the information” a sentencing
28            court may consider “concerning the [defendant’s] background,

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 1        character, and conduct,” and at § 3553(a), which sets forth certain
          factors that sentencing courts must consider, including “the history
 2        and characteristics of the defendant,” § 3553(a)(1).
 3 Pepper v. United States, 131 S.Ct. 1229, 1235 (2011). In Pepper, the Court went
 4 on to state that:
 5        Permitting sentencing courts to consider the widest possible breadth
          of information about a defendant “ensures that the punishment will
 6        suit not merely the offense but the individual defendant.”
 7 Id. at 1240, citing Wasman v. United States, 468 U.S. 559, 564 (1984).
 8        Appearing before this Court is Bruce Baker (“Dr. Baker”), who faces
 9 sentencing based on his negotiated guilty plea to one count of Conspiracy to
10 Defraud the United States and File False Tax Returns, in violation of Title 18
11 U.S.C. § 371.
12        Dr. Baker is a 75 year-old man who has never before been convicted of any
13 offense. He is a family man. Dr. Baker has been married to his wife, Soghra
14 Bromandi since 1974. They have two children, Roozbeh (40 years-old) and Ryan
15 (34 years-old). Roozbeh is an attorney who holds a Ph.D in political science.
16 Ryan is a pediatric dentist. Dr. Baker is very close with his two sons.
17        The information about Dr. Baker’s parents, siblings, and upbringing are
18 accurately reflected in the Presentence Report (“PSR”). In March of 1979, Dr.
19 Baker left Iran to come to the United States. He lived in Boston, Massachusetts
20 for 2.5 years while completing a pediatric program at Boston University.
21 Dr. Baker obtained his Doctor of Dental Medicine and finished his post graduate
22 program in May of 1981. Thereafter, Dr. Baker moved to Florida for one year.
23 While in Florida, Dr. Baker obtained his dentistry license.
24        In 1982, Dr. Baker moved to San Diego County, California. He passed his
25 board certification in California in 1984 and obtained his license to practice
26 dentistry in California. That same year, Dr. Baker opened up a dentistry practice
27 in Poway, California. His work history is accurately reflected in the PSR.
28 Dr. Baker is now retired.


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 1        Dr. Baker is known as a kind, gentle, and generous man to his colleagues.
 2 They write about him in letters to this Court, which have been attached as Exhibit
 3 “A”, and state, in pertinent part, as follows:
 4        . . . I have known Dr. Bruce Baker and his family for 19 years,
          professionally and personally. [¶.] . . . He saw potential in me,
 5        trusted his instincts and hired me. . . He had me learn all aspects of a
          dental practice and the different duties that each entails.
 6        Unbeknownst to me at that time, Dr. Baker was preparing me to
          become a strong all around Dental Assistant and Office Manager. . .
 7        His practice has become my launching pad in my current
          profession. . . . A significant part of my success is attributed to Dr.
 8        Baker’s unyielding belief in me. I have stayed with Dr. Baker and his
          practice for ten years. Dr. Baker has not only been a boss to me but
 9        has become a father to me and I consider myself a part of his
          family. . . Up to now, Dr. Baker is one of the people I go to when I
10        feel lost or if I feel uncertain. His words and wisdom are one of the
          few I seek before I execute a major decision.
11                 April Whitfield
12        . . . I have known Dr. Baker for thirteen years after I was hired in
          2007 for a dental assisting position. I have always held Dr. Baker in
13        the highest regard. He inspired and guided me to further my dental
          career and eventually pushed me to attend dental hygiene school. . .
14        Dr. Baker has been a loyal employer to me as well as a mentor
          throughout the last thirteen years. He has an ideal blend of efficiency
15        and compassion when it comes to his work that I truly admire. . .
                   Brooke Milholland
16
          . . . I have worked alongside Dr. Bruce Baker for 8 strong years, and
17        he has always been the type of man to teach and to guide. . . Dr.
          Baker is a genuine trustworthy person with the best intentions for
18        everyone around him, very caring. Overall, I consider Dr. Baker to be
          a smart motivated man and anyone that can learn from his knowledge
19        would be extremely fortunate.
                   Lisa Robles
20
          I have worked for Dr. Bruce Baker for 5 years out of my 15 yr of
21        dental experience. I only have wonderful things to say about him. He
          is the most inspiring Dentist that I have ever worked for. . . His
22        patients love him. . . He truly cares for his patients. I’ve never
          worked with such a great person who takes the health of his patients
23        over the mighty dollar. [¶.] . . . He is a truly wonderful person inside
          and out.
24               Kelly Tomlinson
25        I am the former Associate Dean for Global Oral Health and assistant
          professor at A.T. Still University (ATSU), Arizona School of
26        Dentistry & Oral Health (ASDOH). Dr. Baker has been a close friend
          of mine for some time now. Over the years that I have known him, he
27        has been a community-minded individual who regularly puts the
          needs of others before his own. He has always been an upright
28        character in the community and our friendship. [¶.] I was particularly
          dismayed to hear of Dr. Baker’s transgression. I have spoken to him
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 1         in regards to the events in question. I can honestly say that he is truly
           disappointed with himself and that all this is a source of intense regret
 2         and embarrassment for him. . . [H]is actions in the past have
           convinced me that he is a selfless and generous man. He has never
 3         been before the courts previously and, I believe, he will never be
           before them again. . .
 4                Dr. Tony Hashemian
 5         Dr. Baker is a very giving individual. Over the years, he has volunteered
 6 his dental services all over this country and abroad in the Dominican Republic.
 7 On many occasions, he treated children for free or at a deeply discounted rate.
 8 (See Letter of Karin and Jaime Camacho, and Letter of Jenn Preske, at Exhibit
 9 “B”.) Dr. Baker has also donated substantial sums of money to various charities.
10 (See Letter of Susan Shahidi, Director of Public Relations, International Society
11 for Children with Cancer, at Exhibit “C”.) Dr. Baker believes in giving back to his
12 community. An example of his generosity is set forth in a letter to this Court by
13 Maryam Eslami Rezaei attached hereto as Exhibit “D”, which letter states, in
14 pertinent part:
15         I am a real estate broker in Los Angeles and have had the pleasure of
           knowing Dr. Bruce Baker for three years through working for him
16         and his partner on a purchase/renovation of an apartment building
           here in Los Angeles. . . The building had to be empty for renovations
17         to take place. . . [A tenant was] willing to leave for a cash payment,
           but disputed the amount she felt that she should be paid. According
18         to California law governing the matter, this tenant was entitled to
           $25,000.00 . . . The tenant however claimed that . . . she was entitled
19         to a payment of $50,000.00. Dr. Baker (and his partner) offered the
           tenant $35,000.00 . . . [¶.] We went to court and the judge found that
20         the tenant was entitled to the original $25,000.000 we had offered
           her. This is where I believe Dr. Baker’s generosity really shines
21         through. . . The tenant stated that she needed the extra $10,000.00 for
           her daughter’s education. To my astonishment, upon conveying the
22         tenant’s request to Dr. Baker, he immediately agreed to pay the tenant
           the extra $10,000.00. Dr. Baker told me that he [sic] as he himself
23         had benefitted immensely from the opportunities education had
           afforded to his life, he was happy to help someone else achieve those
24         opportunities. . . I feel that this speaks volumes to Dr. Baker’s good
           character and I am happy to attest as such.
25                Maryam Eslami Rezaei
26         Finally, it should be noted that Dr. Baker suffers from severe health
27 problems. As stated in the PSR:
28 / / /


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 1        In 2008, the defendant was diagnosed with leukemia. His physician
          provided him a life expectancy of 10 to 15 years. BAKER disavowed
 2        being on medications; however, he follows an “unnatural (Vegan)
          diet that requires constant care at Morris Center.” The defendant
 3        added he has a low white blood cell count; he noted he would provide
          medical documentation in support of his diagnosis. . .
 4
          BAKER reported he suffers from an enlarged prostate. He takes
 5        Flomax and Proscar to treat his condition. Moreover, he takes herbs
          and other “natural meds” (unspecified) to aid with his medical
 6        condition.
 7        U.S. Pretrial Services records reveal the defendant suffers from
          chronic lymphatic leukemia.
 8
 9 (See PSR, p. 14, paras. 70-72.) In a letter attached hereto as Exhibit “E”, Dr.
10 Thomas J. Kipps describes Dr. Baker’s medical condition as follows:
11        Dr. Bruce Baker has been a patient of mine since 2008, followed at
          the UCSD Moores Cancer Center for a diagnosis of T-cell large
12        granular lymphocytic (LGL) leukemia. [¶.] He was evaluated by me
          today. He remains immunocompromised and neutropenic with an
13        absolute neutrophil count of 0.8 1000/mm3. He is at increased risk of
          complications from infection and should avoid possible exposure.
14
15        Unfortunately, Dr. Baker has exhausted all treatments available to him in
16 the United States for his leukemia. After sentencing, Dr. Baker would like to
17 petition this Court to go to Switzerland to obtain treatments that have not yet
18 approved in the United States in an effort to prolong his life.
19        For Dr. Baker, this has been a humbling experience. He understands that he
20 made an enormous error in judgment. This incident has impacted Dr. Baker and
21 his family greatly. Dr. Baker is deeply remorseful for his actions. “During his
22 presentence interview, BAKER accepted responsibility for his actions.” (PSR, p.
23 24, para. 127.) According to the PSR, Dr. Baker “said, ‘I made a big mistake. I
24 take full responsibility.’” (PSR, p. 11, para. 41.) Moreover, in a letter to this Court
25 attached hereto as Exhibit “F”, Dr. Baker writes, in pertinent part, as follows:
26        I wish to express directly to you how very sorry I am for the crimes
          that I have plead guilty to. . . [¶.] Please understand that I am not
27        trying to make excuses for myself or my actions. I broke the law
          freely and with full knowledge. What I am trying to say is that
28        because Rabbi Goldstein was involved I was able, due to his
          involvement and the regard I held for him, [to] justify my illegal
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 1        actions to myself. [¶.] I am now in the twilight of my life. I am 74
          years old and have CLL (a type of Leukemia). I have destroyed the
 2        reputation I built after 35 years of working in San Diego and
          Riverside, serving the community as a dentist, and helping children
 3        and families. . . Perhaps with enough time I could gain some of this
          reputation back, but as a 74 year old man with Leukemia I,
 4        unfortunately, do not have that kind of time. This is what hurts me
          the most, the fact that I do not have enough time to try and regain
 5        some of the reputation that my stupid and illegal actions have
          destroyed. [¶.] Judge Bashant, I wish to humbly petition you to allow
 6        me (if you feel that it is warranted) to serve some or any part of my
          sentence/punishment through volunteer work as a dentist (i.e. treating
 7        patients for no charge). As I stated above, due to my age and medical
          condition, I do not know how much time I have left on this earth to
 8        try and make up for my illegal actions, but I would [be] so grateful for
          a chance to try. Before my guilty plea and this unfortunate series of
 9        events brought on by my own stupidity and illegal actions, I was in
          the process of joining the U.C. San Diego student-run free dental
10        clinic in Lemon Grove. The opportunity to give back to my
          community through to [sic] treating low-income patients for free at
11        the U.C. San Diego Clinic would be one that I would be most grateful
          for.
12
13        In letters to this Court attached hereto as Exhibit “G”, Dr. Baker’s loved
14 ones talk about his overall character as follows:
15        . . . I’m a cousin of Dr. Bruce Baker. . . [¶.] I’ve known Dr. Baker for
          more than 40 years. In the past 14-16 years, we’ve become very
16        close. Outside of the immediate family (wife and 2 children), I would
          say that I probably know him better than anyone else! . . . [¶.] I’d like
17        to share with you who Dr. Baker really is and the impact he has made
          on other people’s lives. . . In early 2017, my oldest brother (David)
18        was diagnosed with pancreatic cancer . . . Dr. Baker was among the
          few who stood behind David and supported him unconditionally
19        (emotionally, spiritually, financially). . . [¶.] . . . [D]eep down, he is a
          philanthropist who gets great joy by helping others. . . [¶.] From early
20        2017 to July/2019, I not only lost my brother in early 2017, but also
          lost my father and mother on June 8, 2019 and July 7, 2018,
21        respectively. This two-year span was the most difficult period of my
          life . . . [T]here was only one person (besides my sister) in my life that
22        supported me unconditionally - Dr. Baker! . . . [W]hat I’m most
          grateful in having Dr. Baker in my life for is all the mentoring and
23        advice he has shared with me to help me become a[n] even better
          person! - examples: more giving, caring for others, giving to others is
24        better than receiving from others, etc. [¶.] . . . Dr. Baker has become
          not only my brother but now like my father. . . I can’t tell you how
25        much he has meant to me and how positive and impactful he has
          been. . . [¶.] . . . He is kind, caring, compassionate, and giving beyond
26        limits.
                   Edmond Banayan
27
          . . . I have known and been associated with Dr. Baker for over 30
28        years. He has been by far more than a casual friend to me, since we
          have had numerous financial and family interactions in the past 30
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 1         years. I attest with no hesitation that I consider Dr. Bruce Baker a
           trustworthy, noble and caring person that I have ever known. . . . He
 2         is known to be a great benefactor in our community.
                 Bruce Sahba
 3
           I am honored to write a reference letter for my friend Dr. Baker whom
 4         I have known for the past 25 years. . . [I]n the 30 plus years of
           professional activities, there is no other person whom I feel
 5         demonstrates an abundance of positive qualities professionally and
           personally. . . [¶.] As a friend, Dr. Baker is a standout. He is loyal,
 6         considerate, and has always demonstrated the uncanny ability to truly
           understand things from the other person’s perspective. . . [¶.] Above
 7         all, what I admire the most in Dr. Baker is that he is a good human
           being. Dr. Baker’s charitable and motivational nature is not solely
 8         reserved for friends and family, but to complete strangers as well. . .
                  Sep Yahmaee
 9
           I recently became aware of the situation that Dr. Baker has placed
10         himself in. I have known him and his family for over a decade and
           found them to be honorable, respectable and community minded.
11         [¶.] . . . I served as the Inaugural Dean [of the Arizona Department of
           Health Services] for fifteen years and it was in that capacity that I first
12         met Dr. Baker. I found him to be a man of integrity, committed to his
           community and generous in his efforts to help others. [¶.] I believe
13         that he has acknowledged his bad behavior and is committed to
           making it right. I also believe that in his core he is a man of honor
14         and has learned from his error and will make it right!
                   Jack Dillenberg
15
16                                             II.
17                         THE SENTENCING GUIDELINES
18 A.      Adjusted Offense Level
19         The parties have agreed on the following calculations under the United
20 States Sentencing Guidelines:
21         Base Offense Level                        20   [§ 2T1.1(a)(1), § 2T4.1(H)]
22         Sophisticated Means                       +2   [§ 2T1.1(b)(2)]
23         Acceptance of Responsibility              -3   [§ 3E1.1]
24         Adjusted Offense Level:                   19
25         Dr. Baker has zero Criminal History Points, therefore resulting in a Criminal
26 History Category I. The initial sentencing range is 30 to 37 months.
27 / / /
28 / / /


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 1 B.    Downward Adjustments
 2       We have been advised by the government that they will be requesting the
 3 following variances at sentencing:
 4       A three level variance is warranted pursuant to U.S.S.G. § 5K1.1.
 5       A two level variance is warranted pursuant to Dr. Baker’s health condition
 6 and other equities.
 7       Dr. Baker would respectfully request that this Court order the above
 8 downward departures, as well as additional downward departures as follows:
 9       A five level downward departure based on a combination of factors
10 pursuant to U.S.S.G. § 5K2.0 and United States v. Cook.
11       A three level downward departure based on the aberrant nature of his
12 conduct pursuant to U.S.S.G. § 5K2.20.
13       Adjusted Offense Level                       19
14       U.S.S.G. § 5K1.1 Variance                    -3
15       U.S.S.G. § 5H1.4 and Other Equities          -2
16       U.S.S.G. § 5K2.0 and Cook Departure          -5
17       U.S.S.G. § 5K2.20 Departure                  -3
18       Total Adjusted Offense Level                  6
19       Therefore the resultant adjusted offense level is six, with a Criminal History
20 Category of I. The sentencing range would be zero to six months.
21                                          III.
22        STATUTORY SENTENCING FACTORS IN 18 U.S.C. § 3553(a)
23       With regard to the Sentencing Guidelines, the United States Supreme Court
24 has stated:
25       Our post-Booker opinions make clear that, although a sentencing
         court must “give respectful consideration to the Guidelines, Booker
26       permits the court to tailor the sentence in light of other statutory
         concerns as well.” [Citation omitted.] Accordingly, although the
27       “Guidelines should be the starting point and the initial benchmark,”
         district courts may impose sentences within statutory limits based on
28       appropriate consideration of all of the factors listed in § 3553(a),
         subject to appellate review for “reasonableness.”
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 1 Pepper, 131 S.Ct. at 1241, citing Kimbrough v. United States, 552 U.S. 85, 101
 2 (2007) and Gall v. United States, 552 U.S. 38, 49-51 (2007). In determining a
 3 sentence, the Court is required to honor the parsimony clause,
 4 18 U.S.C. § 3553(a), which provides that the Court shall impose a sentence
 5 sufficient, but not greater than necessary, to comply with the sentencing factors
 6 cited in that section. These factors include, inter alia, the history and
 7 characteristics of the defendant, the seriousness of the offense, the need for
 8 individual and general deterrence, the kinds of sentences available, and the need to
 9 avoid unwarranted sentencing disparity.
10 A.      The Nature and Circumstances of the Offense.
11         The nature of the offense is accurately described in the PSR. Although the
12 overall conspiracy took place over several years, “it appears Y. Goldstein was the
13 mastermind behind this deceitful conspiracy.” (PSR, p. 21, para. 120.) This Court
14 must remember that “the punishment should fit the offender and not merely the
15 crime.” Williams, 337 U.S. at 247. Therefore, this Court must also look at the
16 history and characteristics of Dr. Baker.
17 B.      The History and Characteristics of the Defendant.
18         Dr. Baker’s history and characteristics are accurately described above. He
19 is highly educated, is a very hard worker, and has an extremely close relationship
20 with his family. Dr. Baker has always been a productive member of society. He
21 has either gone to school or been employed since he was young.
22         Dr. Baker is loved and respected by many, as can be seen by the character
23 letters attached hereto. The characteristics described in those letters, and as set
24 forth above, are all favorable and mitigating. He has no criminal record, no
25 history of violence, and no history of anti-social behavior. Dr. Baker comes from
26 a good family and was extremely well-regarded in his community until the instant
27 offense.
28 / / /


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 1         3.    The Need to Reflect the Seriousness of the Offense, to Promote
                 Respect for the Law, to Provide Just Punishment, to Afford
 2               Adequate Deterrence, to Protect the Public, and to Provide for
                 the Defendant’s Needs in the Most Effective Manner.
 3
 4         In Pepper v. United States, 131 S.Ct. at 1242-43 (2011), the Court opined
 5 that:
 6         Pepper’s postsentecing conduct also sheds light on the likelihood that
           he will engage in future criminal conduct, a central factor that district
 7         courts must assess when imposing sentence. See §§ 3553(a)(2)(B)-©;
           Gall, 552 U.S., at 59, 128 S.Ct. 586 (“Gall’s self-motivated
 8         rehabilitation . . . lends strong support to the conclusion that
           imprisonment was not necessary to deter Gall from engaging in future
 9         criminal conduct or to protect the public from his future criminal
           acts” (citing §§ 3553(a)(2)(B)-©)). . . Accordingly, evidence of
10         Pepper’s postsentencing rehabilitation bears directly on the District
           Court’s overarching duty to “impose a sentence sufficient, but not
11         greater than necessary” to serve the purposes of sentencing.
           § 3553(a).
12
13         The fact that Dr. Baker is 75 years-old, has no criminal record, has been
14 diagnosed with leukemia and is not expected to live much longer, has paid
15 restitution in full, and has had no pretrial violations, sheds light on the minimal
16 likelihood that he will engage in future criminal conduct. In fact, the Probation
17 Officer states in the PSR that: “Also, while his actions herein may post a third-
18 party risk for future employers, it does not appear BAKER is a danger to the
19 community.” (PSR, p. 23, para. 122.) Neither the fact of his offense conduct, nor
20 any past event or characteristic, indicates any future threat of public danger posed
21 by Dr. Baker.
22         Additionally, for many of the reasons cited above, there is little need for
23 further punishment to promote respect for the law, to deter Dr. Baker, or to afford
24 adequate punishment. In evaluating Dr. Baker’s real offense conduct, a sentence
25 of probation with community service would be appropriate. When asked about his
26 release plans, Dr. Baker indicated that “he will ‘provide free dental services to the
27 poor and provide professional help and training for potential dentist who are
28 / / /


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 1 pursuing a career.’” (PSR, p. 24, para. 128.) “Baker noted the services he
 2 provides would be ‘volunteer work.’” (PSR, p. 14, para. 67.)
 3         The impact that this case has had on Dr. Baker, and his loved ones, cannot
 4 be overstated. He sold his dental practice to pay off his restitution. Moreover, the
 5 anxiety he has felt about this case, and the conviction that will now be on his
 6 record, has provided more than enough deterrence for Dr. Baker to ever become
 7 involved in criminality again. This case has been highly publicized and his name
 8 has been tarnished.
 9         It is important to note that the “government will recommend that the
10 defendant be sentenced to the low end of the advisory guideline range as
11 calculated by the government, pursuant to this agreement.” (PSR, p. 21, para.
12 112.) Moreover, the Probation Officer states, in the PSR, that “a sentence below
13 the advisory guideline range appears sufficient, but not greater than necessary, to
14 address the statutory factors in sentencing pursuant to 18 U.S.C. § 3553(a).”
15 (PSR, p. 23, para. 123.) The Probation Officer further states:
16         The undersigned believes that BAKER realizes the gravity of his
           mistake however, just punishment and general deterrence can be
17         achieved by an alternative non-custodial sentence. As such, this
           probation officer believes that a five-year probationary term with six
18         months home detention is sufficient, but not greater than necessary, to
           meet sentencing objectives. Based on his financial profile, a fine is
19         also recommended. It is also recommended BAKER’S sentence
           include a condition that he perform 100 hours of volunteer service at
20         a non-profit organization, approved by the U.S. Probation Office.
21 (PSR, p. 24, para. 130.) We agree with the Probation Officer’s recommendation in
22 this case that a term of five years probation with six months of home confinement
23 and 100 hours of volunteer service would be sufficient, but not greater than
24 necessary, to meet sentencing objectives. In addition, Dr. Baker respectfully
25 requests that no fine be imposed. It is our understanding that the government will
26 not be recommending a fine in this case due to the significant amount of
27 restitution already paid and still owed.
28 / / /


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 1 4.     The Kind of Sentences Available.
 2        As the Court in Pepper stated, “district courts may impose sentences within
 3 statutory limits based on appropriate consideration of all of the factors listed in
 4 § 3553(a), subject to appellate review for ‘reasonableness.’” Pepper, 131 S.Ct. at
 5 1241. Here, the guideline range is 30 to 37 months; however, the “defendant is
 6 eligible for not less than one nor more than five years’ probation because the
 7 offense is a Class D. Felony. 18 U.S.C. § 3561(c)(1). One of the following must
 8 be imposed as a condition of probation unless extraordinary circumstances exist: a
 9 fine, restitution, or community service.” (PSR, p. 21, para. 105.) Consequently,
10 this Court may impose a sentence of probation with home confinement and
11 volunteer service.
12 5.     The Kind of Sentencing Range Established by the Guidelines.
13        As stated above, according to the government, the guideline range in this
14 case is 15-21 months; however, if this Court grants the downward departures
15 requested by Dr. Baker, the guideline range in this case is zero to six months.
16 6.     Any Pertinent Policy Statement.
17        See Subparagraph 4 above.
18 7.     The Need to Avoid Unwarranted Sentence Disparity Among Defendants
          with Similar Records Who Have Been Found Guilty of Similar
19        Conduct.
20        As noted above, Dr. Baker has no prior criminal record. The sentences of
21 similarly situated defendants is set forth on page 2 of the PSR and reflects
22 sentences of (a) one year of probation, (b) three months custody with two years of
23 supervised release, and © two years of probation. Consequently, a sentence of
24 probation would be appropriate in this case.
25 8.     The Need to Provide Restitution to Any Victim.
26        Dr. Baker has paid a significant amount of restitution in this case. In fact,
27 prior to Dr. Baker even getting charged, he amended his tax returns for years 2010
28 to 2017 and paid back taxes. (PSR, p. 9, para. 30.) According to the government,


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 1 the total amount of taxes, penalties, and interest owed by Dr. Baker was
 2 $1,380,628.98. Dr. Baker has already paid $805,901.00 toward that amount. As
 3 such, the total amount of unpaid taxes, penalties, and interest still owing is
 4 $574,727.98.
 5                                          IV.
 6                                     CONCLUSION
 7        Dr. Baker has retired from dentistry and hopes to do volunteer service for
 8 the remaining years of his life. Although he is not expected to live much longer
 9 given his leukemia diagnosis, he could help a lot of people in need in the time that
10 he does have remaining on this earth. Given the above, Dr. Baker respectfully
11 requests that this Court sentence him to five years of probation with six months
12 home confinement and 100 hours of volunteer service. He also respectfully
13 requests that no fine be imposed.
14 Dated: May 28, 2021                            Respectfully Submitted,
15
                                                  /s/ Thomas J. Warwick, Jr.
16                                                Thomas J. Warwick, Jr.
                                                  Attorney for Bruce Baker
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